 

Case 1:06-cv-01387-AK Document 2 Filed 09/14/2007 Page 1 of1

CO 324
Rev. 5/97

UN|TED STATES DlSTR|CT COURT
FOR THE D|STR|CT OF COLUMB|A

MARCUS B. LAWRENCE )
)
)
)
P|aintiff )
v. ) Civil Case Number 06-1387 (JN|F)

)

) Category G
VANESSA P. ADAN|S )
)
Defendant )

REASS|GNMENT OF C|VlL CASE

The above-entitled case was reassigned on Segtember 14, 2007 from
Judde John Garrett Penn to Magistrate Judge John M. Faccioia by direction of
the Ca|endar Committee.

(See Loca| Ru|e 57.14.)
JUDGE ELLEN SEGAL HUVELLE
Chair, Ca|endar and Case
|\/Ianagement Committee
cc: Judge Penn & Courtroom Deputy
Magistrate Judge Faccioia & Courtroom Deputy

Liaison, Ca|endar and Case Nianagement Committee
Civil Case Processing Cierk

